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AO 442 (Rev. 11111) Arrest Warrant




                                                             UNITED STATES DISTRICT COURT
                                                                                    for the

                                                                            District of Columbia

                                 United States of America
                                            v.                                         )
                                                                                       )          Case No.
                                       Jordan T Revlett
                                                                                       )
                                                                                       )
                                                                                       )
                                                                                       )
                                                 Defendant


                                                                         ARREST WARRANT
To:              Any authorized law enforcement officer


                 YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                    Jordan T Revlett
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        o Superseding Indictment    o Information o Superseding Information                                                  N Complaint
o Probation Violation Petition    o Supervised Release Violation Petition o Violation Notice                                             0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C. 1752(a)(I)-(2)                             - Unlawful Entry on Restricted Grounds
40 U.S.C. 5104(e)(2)(D)                               and (G) - Violent Entry or Disorderly Conduct



                                                                                                                               2021.01.20
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Date: _----'0"-'1'-'-'/2""0"-'/2""0...,2'""'-1   __
                                                                                                              Issuing officer's signature

City and state:                                       Washin   on D.C.                               U.S. Magistrate Judge Zia M. Faru ui
                                                                                                                Printed name and title


                                                                                   Return

           This warrant was received on (date) -t1-J/f--.'2=.........l        +-1..."2,-,,,-_ , and the person was arrested on (date) Ill...5' /2. \
at (city and state) [) Wm~b;J(D 1 I                            ~y


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                                                                                                                  C                         '91-, )151
                                                                                                                Printed name and dtle
